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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case

                                                                                                                              ,
                                                                                                                          ,-" ! :
                                        UNITED STATES DISTRICT COURT                                                      1   ~; -,-~




                                           SOUTHERN DISTRICT OF CALIFORNIA                                                              I •
                                                                                                                                        \   .
              UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                   V.                              (For Offenses Committed On or After November I, 1987)
       JOSE LUIS MENDOZA.vALENZUELA (5)
                                                                       Case Number:         15CR0356-BAS

                                                                    CHARLES ADAIR
                                                                    Defendant's Attorney
REGISTRATION NO.                   38293408
D -
IZI   pleaded guilty to count(s)         ONE (1) OF THE INDICTMENT

D     was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                     Nature of Offense                                                               Numberlsl
18USC371                            CONSPIRACY TO MAKE MATERIAL FALSE STATEMENTS                                       1
                                    IN CONNECTION WITH THE ACQUISITION OF FIREARMS
                                    AND TO EXPORT DEFENSE ARTICLES WITHOUT A
                                    LICENSE




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

D     Count{s)                                                is          dismissed on the motion of the United States.

IZI   Assessment: $100.00




k8I No fine                   IZI Forfeiture pursuant to order filed            2/2/2016                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    FEBRUARY 1. 2016
                                                                   Date ofImposition of Sentence


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                                                                   HOiCCYNTIH~BASHANT
                                                                   UNITED STATES DISTRICT runGE
                                                                                                                  15CR0356-BAS
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DEFENDANT:                  JOSE LUIS MENDOZA-VALENZUELA (5)                                     Judgment - Page 2 of 4
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                                                          IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a term of:
 THIRTY (30) MONTHS




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI    The court makes the following recommendations to the Bureau of Prisons:
        THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN THE
        WESTERN REGION FOR FAMILY VISITS.




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at
                   ----------------------------------- A.M.      on
        o     as notified by the United States Marshal.
                                                                      ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                              RETURN

 I have executed this judgment as follows:

        Defendant delivered on     _____________________________________________ ro _____________________________

 at _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                           By                  DEPUTY UNITED STATES MARSHAL

                                                                                                     15CR0356-BAS
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    DEFENDANT:                  JOSE LUIS MENDOZA-VALENZUELA (5)                                                              Judgment - Page 3 of 4
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check. if applicable.)
       The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifYing offense. (Check ifapplicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                       STANDARD CONDITIONS OF SUPERVISION
              1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
              2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
              3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
              4)  the defendant shall support his or her dependents and meet other family responsibilities;
              5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                  acceptable reasons;
              6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
              7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
                  substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
              8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
              9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
                  felony, unless granted pennission to do so by the probation officer;
              10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall penn it confiscation of any
                  contraband observed in plain view of the probation officer;
              11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
              12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
                  pennission ofthe court; and
              13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
                  record or personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
                  defendant's compliance with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

           1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United
              States illegally and report to the probation officer within 24 hours of any reentry into the United
              States; supervision waived upon deportation, exclusion, or voluntary departure.

          2. Not enter or reside in the Republic of Mexico without permission of the court or probation
             officer.

          3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

          4. Resolve all outstanding warrants within 60 days.

           5. Submit your person, property, residence, office or vehicle to a search, conducted by a United
              States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable
              suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
              search may be grounds for revocation; the defendant shall warn any other residents that the
              premises may be subject to searches pursuant to this condition.


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